       Case 5:23-cv-01694-SSS-AGR Document 10 Filed 08/23/23 Page 1 of 1 Page ID #:37
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
 J. Mark Holland
 J. Mark Holland & Associates
 19800 MacArthur Blvd., Suite 300
 Irvine, CA 92612




 ATTORNEY(S) FOR: GOOD SHEPHERD MINISTRIES

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Good Shepherd Ministries International ,                                      CASE NUMBER:

a 501 (c)(3) Nonprofit California corporation                                                   5:23-cv-01694-SSS-AGR
                                                              Plaintiff(s),
                                     v.
JULY & RIPPA LLC,
                                                                                             CERTIFICATION AND NOTICE
a Texas Limited Liability Company;
                                                                                               OF INTERESTED PARTIES
and DOES 1 THROUGH 5, inclusive,                                                                   (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                GOOD SHEPHERD MINISTRIES INTERNATIONAL
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION / INTEREST




         August 23, 2023                                   /s/ J. Mark Holland
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           GOOD SHEPHERD MINISTRIES INTERNATIONAL


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
